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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11    JULISSA COTA, individually and on                    Case No.: 20-cv-1450 JLS (BGS)
      behalf of herself and all others similarly
12
      situated,                                            ORDER GRANTING JOINT
13                                       Plaintiff,        MOTION TO DISMISS
14    v.                                                   (ECF No. 9)
15
      WESTFIELD AMERICA LIMITED
16    PARTNERSHIP, a Delaware corporation;
      and DOES 1 to 10, inclusive,
17
                                      Defendants.
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19
20          Presently before the Court is the Parties’ Joint Motion to Dismiss (ECF No. 9). Good
21    cause appearing, the Court GRANTS the Joint Motion. As stipulated by the Parties,
22    Plaintiff’s claims, in their entirety, are DISMISSED WITH PREJUDICE. The Putative
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 1    Class Members’ claims are DISMISSED WITHOUT PREJUDICE. Each Party shall
 2    bear his or its own costs and attorney’s fees. The Clerk of Court will close the file.
 3          IT IS SO ORDERED.
 4    Dated: December 30, 2020
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